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                         EXHIBIT A
    Case 2:20-cv-01437-FWS-AS Document 53-2 Filed 06/15/20 Page 2 of 4 Page ID #:1017


Jenira Velez

From:                          Vanessa <Vanessa@asaplegal.com>
Sent:                          Wednesday, February 26, 2020 3:18 PM
To:                            Jenira Velez
Cc:                            Desiree N. Murray
Subject:                       [EXT] RE: 31273718 LA LUZ DEL MUNDO DBA LGLESIA DEL /EL CONSEJO DE OBISPOS,
                               AN UNINCORPO



Good afternoon,


Server returned to the new address, business is still closed


2.26 @ 1511 (2930 W. VALLEY BLVD) BUSINESS IS CLOSED AND LOCKED- SERVER CALLED
THE NUMBER AGAIN, NO ANSWER NO ACTIVITY




THANK YOU!


Vanessa Padilla
Process Department
ASAP LEGAL, LLC
404 W. 4th Street, Suite B
Santa Ana, CA 92701
T 714.543.5100
Email: vanessa@asaplegal.com




From: Vanessa
Sent: Monday, February 24, 2020 11:19 AM


                                                     1
    Case 2:20-cv-01437-FWS-AS Document 53-2 Filed 06/15/20 Page 3 of 4 Page ID #:1018
To: 'Jenira Velez' <JVelez@GGTrialLaw.com>
Subject: RE: 31273718 LA LUZ DEL MUNDO DBA LGLESIA DEL /EL CONSEJO DE OBISPOS, AN UNINCORPO

NEW ADDRESS 2930 W. VALLEY BLVD
2.24 @ 1110AM- (2930 W. VALLEY BLVD) BUSINESS IS CLOSED AND LOCKED- HOURS ARE
POSTED MON/WED/THU/FRI 10-530PM TUES/SAT/SUN-CLOSED- SERVER CALLED NUMBER
ON BUILDING NO ANSWER
** WE WILL RETURN TWICE MORE




THANK YOU!


Vanessa Padilla
Process Department
ASAP LEGAL, LLC
404 W. 4th Street, Suite B
Santa Ana, CA 92701
T 714.543.5100
Email: vanessa@asaplegal.com




From: Vanessa
Sent: Monday, February 24, 2020 9:04 AM
To: Jenira Velez <JVelez@GGTrialLaw.com>
Subject: 31273718 LA LUZ DEL MUNDO DBA LGLESIA DEL /EL CONSEJO DE OBISPOS, AN UNINCORPO

Control Number: 31273718
Reference: MATIN V LA LUZ DEL
Service Type: SPLPRSS
Case Number: 2:20-CV-01437
Case Name: MARTIN V LA LUZ DEL
Documents: S&C

              ALT ADDRESS
              2930 W. VALLEY BLVD
              ALHAMBRA CA 91803

                                                    2
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2.22 @ 1255 GIVEN ADDRESS HAS A CHURCH AND A HOME
       LOCATED ON THIS PROPERTY, CHURCH WAS CLOSED AND LOCKED
       NO ANSWER AT THE DOOR AT THE HOME -NO SIGN OF ANYONE
       BEING HOME
2.23 @ 0802AM- CHURCH REMAINS CLOSED AND LOCKED, NO
       ANSWER AT THE DOOR OF THE RESIDENCE
 2.23 @ 1525 CHURCH REMAINS CLOSED - NO SIGN OF ANYONE
       AROUND
       ** PER YELP- THIS CHURCH IS CLOSED DOWN

*** DID YOU want us to attempt the second address in Alhambra?




THANK YOU!


Vanessa Padilla
Process Department
ASAP LEGAL, LLC
404 W. 4th Street, Suite B
Santa Ana, CA 92701
T 714.543.5100
Email: vanessa@asaplegal.com




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